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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 STEVE BULLOCK, in his official                            CV-20-62-GF-BMM
                                                 Case No.: ______________
 capacity as Governor of Montana;
 MONTANA DEPARTMENT OF
 NATURAL RESOURCES AND
 CONSERVATION,
                              Plaintiffs,
                   vs.                                 COMPLAINT

 BUREAU OF LAND
 MANAGEMENT; WILLIAM
 PENDLEY, in his official capacity as the
 person exercising the authority of the
 Director of the Bureau of Land
 Management; UNITED STATES
 DEPARTMENT OF THE
 INTERIOR; DAVID BERNHARDT,
 in his official capacity as Secretary of the
 Department of the Interior,

                                Defendants.

      The framers of the United States Constitution understood the menace of

unchecked power. To prevent its accumulation and consolidation, they deliberately

distributed and balanced power among three branches of government. Consistent

with that norm, the Constitution’s Appointments Clause requires that the President

nominate and the Senate confirm the heads of significant federal agencies—a process

the Supreme Court has referred to as a “critical structural safeguard” of our

democracy. In defiance of this critical safeguard, the Bureau of Land Management

has been run by unconfirmed acting directors for three years—that is, for the entire


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duration of the Trump Administration. Over the last year, William Perry Pendley

has unlawfully directed the Bureau via a long-running series of “temporary” orders.

      Pendley’s position has recently become illegal in a new way. On June 30, 2020,

President Trump finally nominated Pendley to lead the Bureau, officially putting

him up for Senate consideration. But Pendley continues to serve as the Bureau’s

acting director while his nomination is pending. This directly contravenes the

Federal Vacancies Reform Act, which prohibits acting officers from running

agencies while their nominations are pending before the Senate.

      Governor Bullock and the Montana Department of Natural Resources and

Conservation bring this suit for declaratory and injunctive relief because Pendley

lacks legal authority to direct the Bureau of Land Management and because

Pendley’s conduct as acting director harms the State and the people of Montana.

The Bureau wields broad federal power. It oversees the use and maintenance of

about 245 million acres of public lands across the United States—around one eighth

of the country’s landmass—and that land is heavily concentrated in western states.

Nearly a third of the land in Montana is federally owned, making the Bureau one of

the most important stewards of land in the State.

      Under Pendley and his predecessors, the Bureau has violated agreements

made with Montana and other western states and has adopted policies and practices

that threaten Montana’s environment and economy. Pendley himself holds extreme,



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unpopular views on public lands and has acted in accordance with those views during

his tenure as acting director. His nomination, therefore, is likely to languish in the

Senate for months and extend his unlawful tenure as acting director through the

remainder of this presidential term. The Federal Vacancies Reform Act bars

Presidents from circumventing the Constitution by putting people in charge of

federal agencies before they are Senate-confirmed. But that is precisely what has

happened here. Pendley’s tenure—and the actions the Bureau has taken, and

continues to take during that tenure—violate the law.

                                      PARTIES

      1.     The Montana Department of Natural Resources and Conservation

(DNRC) is an executive agency of the State of Montana. DNRC resides within and

throughout Montana, with offices in the Great Falls Division of this Court, including

in Lewistown and Havre.

      2.     Steve Bullock is the Governor of Montana. He is the State’s chief

executive and exercises supervisory authority over DNRC pursuant to the Montana

Constitution and state statute. He sues in his official capacity.

      3.     Defendant William Perry Pendley is the Deputy Director of the Bureau

of Land Management, and currently exercises the authority of the Director of the

Bureau of Land Management. He is sued in his official capacity.

      4.     Defendant David Bernhardt is the Secretary of the Department of the



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Interior. He is sued in his official capacity.

       5.       Defendant Bureau of Land Management is an agency of the United

States within the meaning of the Administrative Procedure Act, 5 U.S.C. § 500 et seq.

       6.       Defendant United States Department of the Interior is an agency of the

United States within the meaning of the Administrative Procedure Act, 5 U.S.C.

§ 500 et seq.

                             JURISDICTION & VENUE

       7.       Because this action arises under the Administrative Procedure Act and

the United States Constitution, this Court has federal question jurisdiction under

28 U.S.C. § 1331.

       8.       Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because the

DNRC, an executive agency of the State of Montana, is a resident of this judicial

district. Divisional venue is proper in the Great Falls Division under L.R. 3.2(b) and

Mont. Code. Ann. §§ 25-2-118, 25-2-125 because the Bureau of Land Management

and Department of Interior are found throughout the state, a substantial part of the

events or omissions giving rise to the plaintiffs’ claims occurred in this Division, and

a substantial part of the property that is the subject of the action is situated in this

Division.

            CONSTITUTIONAL & STATUTORY BACKGROUND

       9.       The United States Constitution provides “the exclusive means” for



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appointing officers of the United States. Lucia v. S.E.C., 138 S. Ct. 2044, 2051 (2018).

Under Article II, officers must first be nominated by the President and then

confirmed to their positions “by and with the Advice and Consent of the Senate.”

U.S. Const. Art. II, § 2, cl. 2. “The Senate’s advice and consent power is a critical

‘structural safeguard [ ] of the constitutional scheme.’” N.L.R.B. v. SW Gen., Inc., 137

S. Ct. 929, 935 (2017) (quoting Edmond v. U.S., 520 U.S. 651, 659 (1997)).

      10.    Because the process of nomination and confirmation can take time,

Congress has granted the President “limited authority to appoint acting officials to

temporarily perform the functions” of a vacant position. Id. That authority has been

granted by several different statutes over time, and is currently governed by the

Federal Vacancies Reform Act, or FVRA. Id.; see also 5 U.S.C. §§ 3341–49.

      11.    The FVRA provides that when an office that must be filled via the

Senate confirmation process lies vacant, the President may appoint an acting officer

to perform the functions and duties of that office. 5 U.S.C. § 3345. That acting

official may serve for 210 days, a time period that may temporarily be extended once

a nomination to the position has been submitted to the Senate. 5 U.S.C. § 3346.

      12.    But the FVRA also specifically “prohibits certain persons from serving

as acting officers if the President has nominated them to fill the vacant office

permanently.” N.L.R.B., 137 S. Ct. at 935. In particular, the FVRA creates a broad

prohibition on individuals serving in an acting capacity in an office while their own



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nomination for that office is pending in the Senate. See 5 U.S.C. § 3345(b). There are

two narrow exceptions to this rule. See id. First, if the nominee for an office served as

first assistant to that office for more than 90 days before the vacancy at issue arose,

then the nominee may continue serving in an acting capacity for that office while

their nomination is pending. Id. Second, if the first-assistant position itself requires

Senate confirmation, and the Senate has already confirmed the official to that first-

assistant role, the official may serve in an acting capacity for the office in question.

Id. Otherwise, they may not serve as an acting officer for that office. Id.

      13.    The office of the Director of the Bureau of Land Management is one

that must be filled “by the President, by and with the advice and consent of the

Senate.” 43 U.S.C. § 1731(a). The appointment of acting officers to discharge the

duties of the Director is therefore governed by the FVRA. 5 U.S.C. § 3345(a).

                            FACTUAL ALLEGATIONS

I.    William Perry Pendley serves as the head of an agency that has
      had no Senate-confirmed official in charge for more than three
      years.

      14.    President Donald Trump took office at noon on January 20, 2017. At

or around that time, the last Senate-confirmed Director of the Bureau of Land

Management, Neil Kornze, vacated the office.

      15.    Over the three years that followed, President Trump never submitted a

nomination to the Senate for a new Director of the Bureau. Steven Mufson, Interior



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secretary extends the tenure of federal lands chief—without a presidential nomination, Wash. Post

(Jan. 2, 2020), https://perma.cc/W2V7-GX5A.

       16.    Instead of nominating a Bureau Director, President Trump chose a

series of acting directors to run the agency—none of whom had been confirmed by

the Senate for that position.

       17.    The current acting director of the Bureau is William Perry Pendley,

who was appointed to the position via a series of temporary orders.

       18.    On July 29, 2019, Secretary of Interior David Bernhardt first issued an

order “to temporarily redelegate [the] authority” of the position of Bureau Director

to William Perry Pendley. See David Bernhardt, Order No. 3345 Amendment No.

28 (July 29, 2019) (Ex. A).

       19.    The order delegated the “functions, duties, and responsibilities of” the

“Director, Bureau of Land Management” to Pendley. It was scheduled to expire on

September 30, 2019. Id.

       20.    On September 30, 2019, Secretary Bernhardt amended the order to

provide that William Perry Pendley would continue serving as acting director of the

Bureau until January 3, 2020. See David Bernhardt, Order No. 3345 Amendment

No. 29 (Sept. 30, 2019) (Ex. B).

       21.    On January 2, 2020, Secretary Bernhardt again amended the order to

provide that William Perry Pendley would continue to serve as acting director of the



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Bureau until April 3, 2020. See David Bernhardt, Order No. 3345, Amendment No.

30 (Jan. 2, 2020) (Ex. C).

      22.    On April 3, 2020, Secretary Bernhardt amended the order yet again,

continuing Pendley’s leadership until May 5, 2020. See David Bernhardt, Order

No. 3345, Amendment No. 31 (April 3, 2020) (Ex. D).

      23.    On May 5, 2020, Secretary Bernhardt amended the order again,

providing for Pendley’s continued leadership until June 5, 2020. See David

Bernhardt, Order No. 3345, Amendment No. 32 (May 5, 2020) (Ex. E).

      24.    On June 5, 2020, the Interior Department made a statement to the

press announcing that Pendley would be continuing in his role based on updated

succession orders. See BLM acting director stays at post despite lawsuit, The Salt Lake

Tribune (June 9, 2020), https://bit.ly/3g698hR. According to press accounts,

Secretary Bernhardt did not issue this order in writing, and no expiration date

applies to Pendley’s purported authority. Id. This order does not appear to have been

made public in any form other than the June 5 statement to the press.

      25.    On June 30, 2020, the President submitted Pendley’s nomination for

the position of Director of the Bureau of Land Management to the United States

Senate. See “PN2076—William Perry Pendley—Department of the Interior: 116th

Congress (2019–2020),” Congress.gov, https://perma.cc/5CBJ-K7GY (accessed

July 20, 2020).



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       26.    Pendley’s nomination is currently pending in the Senate.

       27.    Although Pendley and the Bureau have avoided using the title of

“Acting Director,” Pendley is in fact serving as the acting director of the Bureau of

Land Management within the meaning of the Federal Vacancies Reform Act and

for purposes of the Appointments Clause of the United States Constitution.

       28.    The Bureau has held Pendley out to the public as “Exercising Authority

of the Director” in official communications and on the Bureau’s website. See

“Leadership,” Bureau of Land Management, https://perma.cc/8KUR-3VGN

(accessed July 20, 2020) (listing “William Perry Pendley” as “Exercising Authority of

the Director”); “Organizational Chart,” Bureau of Land Management,

https://perma.cc/B8QV-LJ45 (accessed July 20, 2020) (same); “William Perry

Pendley,” Bureau of Land Management, https://perma.cc/TR68-ZZDY (accessed

July 20, 2020) (same).

       29.    Pendley has also identified himself as an acting agency head. In an

editorial in the Billings Gazette, for example, Pendley defended his record and his

leadership and argued that “Senate confirmation is not required for acting heads of

agencies.” William Perry Pendley, Guest opinion: BLM serves public interest in multiple use,

Billings Gazette (Feb. 6, 2020), https://perma.cc/G9BH-QPXD. Pendley is

regularly understood by members of the public and the news media to be heading




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the Bureau of Land Management.1

        30.      Pendley directs the administration of the Bureau’s regulations regarding

the exploration, development, and production of oil, coal, and other minerals under

the Bureau’s leases. 43 C.F.R. §§ 3160.0-2; 3480.0-6; 3590.0-2. He also exercises

significant authority over day-to-day functions and decision-making in the Bureau,

such as supervising and directing the relocation of the Bureau’s headquarters from

Washington, D.C., to Grand Junction, Colorado.

II.     The Bureau of Land Management’s actions under Pendley
        threaten Montana’s economic and environmental interests.

        31.      The State of Montana has long worked closely with the Bureau of Land

Management to develop and implement plans regarding the use of public lands that

fulfill the economic, environmental, and legal obligations of the state and federal

governments.

        32.      In the last three years, and only under the stewardship of acting, non-

senate-confirmed directors, the Bureau has departed from obligations and

commitments made under recent, binding land-use plans. These departures are

ongoing and currently superintended by William Perry Pendley.


        1See, e.g., Kirk Siegler, BLM Acting Director Defends Agency’s Controversial Move to Colorado, NPR
(Feb. 18, 2020), https://perma.cc/TW32-64AS; Timothy Puko, The Environmental Battle Over the
Mexican Border Wall, Wall St. Journal (Feb. 15, 2020), https://perma.cc/E9V8-F4JB; Rebecca
Beitsch, Advocate for selling off public lands will remain BLM’s acting director, The Hill (Sept. 30, 2019),
https://perma.cc/9PAG-T697; Mark Jaffe, Scattering BLM will be good for policy, boss William Pendley
says. Not with him at the helm, advocacy groups argue, The Colorado Sun (Oct. 14, 2019),
https://perma.cc/V7X7-CB9P.

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       33.   The Bureau’s departures from its obligations and commitments under

these plans threaten Montana’s economic and environmental interests. The Bureau’s

actions have caused the State of Montana to divert its own resources and staff time

to address and compensate for the Bureau’s decreased commitment to

environmental conservation in violation of its agreements with Montana.

       34.   In particular, the Bureau has developed a pattern and practice in the

last three years of actions and omissions that threaten sagebrush habitat that was

previously identified by Bureau as a conservation priority. These actions and

omissions threaten the long-term viability of the sage grouse and create a significant

risk that the sage grouse will be listed for protection under the Endangered Species

Act.

       35.   The Bureau has likewise developed a pattern and practice in the last

three years of actions and omissions that break with its own requirements to manage

for multiple uses and give due consideration to preserve and protect certain lands,

prioritizing access to extractive industries over all other land use and conservation

goals. These departures from previously-developed resource management plans

undercut the State’s ability to preserve and protect areas that have special fish and

wildlife, archaeological, and recreational values.

A.     In 2015, the Bureau committed to a series of comprehensive
       environmental protections to conserve critical sagebrush habitat
       in and around Montana.



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        36.      In 2015, the Bureau, Montana, and several other western states entered

into a complex and comprehensive plan for managing the environmental effects of

public land use on animal habitat across the western United States.2 The plans

focused on the habitat of the Greater Sage Grouse, an “umbrella species” whose

welfare can be indicative of the health of hundreds of other species that share the

same habitat.

        37.      This plan was developed in response to urgent environmental and

economic concerns. In 2010, the U.S. Fish and Wildlife Service determined that

“loss and fragmentation” of sage-grouse habitat, which was “exacerbated by a lack

of adequate regulatory mechanisms,” meant that the sage grouse was “at risk of

extinction in the foreseeable future.” 80 Fed. Reg. 59858, 59871 (Oct. 2, 2015). The

agency therefore concluded that the sage grouse warranted protection under the

Endangered Species Act. Id. But the agency did not immediately list the sage grouse

as endangered. Id. This temporary abeyance provided the United States

government, Montana, and other states with a unique opportunity to develop plans

and other regulatory mechanisms to adequately address known threats such as

habitat loss from oil and gas development—which could potentially prevent the sage



        2See Bureau of Land Management, Record of Decision and Approved Resource Management Plan
Amendments for the Rocky Mountain Region, Including the Greater Sage-Grouse Sub-Regions of Lewistown, North
Dakota, Northwest Colorado, Wyoming, and the Approved Resource Management Plans for Billings, Buffalo, Cody,
HiLine, Miles City, Pompeys Pillar National Monument, South Dakota, Worland, Sept. 2015,
https://perma.cc/HY89-GWYV (“2015 Plan”).

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grouse’s eventual listing under the Act.

      38.    Because of the significant amount of sage-grouse habitat in Montana, a

listing under the Endangered Species Act would have profound implications for

public and private land use in the State. About 75 percent of Montana’s sage grouse

population lives on state lands or private lands. If the sage grouse were listed as

endangered, the Montana government as well as citizens and businesses throughout

Montana would be required to adopt costly measures to protect the sage grouse from

risks arising during the routine development and use of state and private property.

      39.    Plaintiff DNRC manages the bulk of the state lands that are home to

Montana’s sage grouse population.

      40.    Governor Bullock is the state officer responsible for Montana’s

administration of these plans, by and through DNRC. Their administration of these

plans is directly impacted by the Bureau’s failure to adhere to the 2015 plans.

      41.    Although most of the sage grouse population in Montana is on state and

private land, the majority of the sage grouse’s habitat in the region as a whole is on

federal land. Because of the interconnected nature of the region’s ecosystem, the

management of sage grouse habitat on federal land has a significant effect on the

sage grouse population as a whole and on the likelihood that the sage grouse will be

listed as an endangered species.

      42.    To address these concerns, the State of Montana coordinated with the



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Bureau and other states to develop a plan in response to the Fish and Wildlife

Service’s 2010 determination. The process, which took several years, involved what

the Bureau itself described as an “unprecedented effort” to make a plan based on the

“best available science” that coordinated many different stakeholders. 2015 Plan at

S-1. The Bureau received more than 45,000 letters and more than 10,000

comments; prepared 15 environmental impact statements; received gubernatorial

reviews from several states (including Montana); and ultimately amended 98 existing

land or resource management plans. Id. at 1–1-40. All told, the process represented

what the Department of Interior termed “the largest single planning effort in BLM

history.” Greater Sage-Grouse Conservation and the Sagebrush Ecosystem: Collaborative

Conservation at Work (2016), https://perma.cc/B7TD-HHDG.

      43.    Governor Bullock led and directed the State of Montana’s involvement

in this planning effort.

      44.    The result of the process was a final decision that adopted a detailed set

of plans and requirements to protect the sage grouse habitat. See 2015 Plan. The

plans implemented a “layered management approach,” in which different habitat

areas were designated as different priority levels for protection, and more stringent

protections were applied to higher priority habitat. Id. at I-22. For the Rocky

Mountain Region, which includes Montana, the “primary threat” to the sage grouse

habitat was identified as “disturbance associated with energy development and



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infrastructure.” Id. The plans for the region thus contained several habitat

designations to use when formulating restrictions on such disturbances, such as

“priority habitat” and “general habitat.” Id. at I-22–I-25.

      45.    The Bureau’s plans adopted in 2015 limited leasing and development

in priority habitat and general habitat areas. In particular, the plans require that

“[w]hen analyzing leasing and authorizing development of fluid mineral resources .

. . priority will be given to development in non-habitat areas first and then in the

least suitable habitat for Greater Sage Grouse.” 2015 Plan, Attachment 5, at 2-24

(Billings Field Office Plan), available at https://perma.cc/W9T6-DDNU. The final

decision noted that these protections would benefit the sage grouse “and more than

350 other species of wildlife that depend on healthy sagebrush-steppe landscapes.”

2015 Plan at 2. Neil Kornze, the last Senate-confirmed Bureau Director, approved

the 2015 Bureau Decision.

B.    Over the last three years, a series of non-Senate-confirmed
      acting directors have presided over significant violations of the
      Bureau’s sage-grouse related commitments.

      46.    The plans initiated in 2015 have, so far, been successful at avoiding the

listing of the sage grouse under the Endangered Species Act. In 2015, the Fish and

Wildlife Service postponed listing the sage grouse as an endangered species, relying

heavily on the expectation that the Bureau’s 2015 plans would remain in place “for

the next 20 to 30 years.” 80 Fed. Reg. at 59934. The Fish and Wildlife Service called



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the 2015 Plan the “[m]ost important[]” of the changes in regulation that permitted

departure from its 2010 determination regarding the sage grouse’s endangered

status. 80 Fed. Reg. at 59931. The Fish and Wildlife Service said that it was “certain

that the [2015 Plan] will be implemented.” Id.

      47.    Despite the success of these plans, which were adopted with public

notice and comment and years of stakeholder input, the Bureau has departed from

its obligations to protect crucial sagebrush habitat on federal lands in and around

Montana.

      48.    Over the last three years, in which the Bureau has had no Senate-

confirmed director, the agency has offered hundreds of oil and gas leases on land

designated as priority habitat and general habitat. It has failed to prioritize leasing

and development in other areas as required by the 2015 plans. In one analysis, for

instance, over the six-month period from June through December 2018, more than

three-quarters of the acreage in several states that was offered or proposed for leasing

by the Bureau was in habitat protected under the 2015 plans.

      49.    In December 2017, the Bureau held an oil and gas lease sale of more

than 98,000 acres of land in Montana on more than 200 parcels, nearly 90 percent

of which were in general habitat.

      50.    In March 2018, the Bureau held another lease sale covering more than

45,000 acres in Montana in which 70 percent of the 83 parcels on offer were in



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priority habitat or general habitat.

      51.    In March 2019, the Bureau held a lease sale involving 305 parcels, 287

of which were in sage grouse habitat—including over 35,000 acres in priority habitat

and more than 115,000 acres in general habitat.

      52.    In July, September, and December 2019, the Bureau held additional

lease sales involving thousands of acres of land in priority habitat and general habitat.

      53.    In March of this year, the Bureau held another lease sale in which all 8

parcels available were in sage grouse habitat.

      54.    Although issuing leases does not immediately impact habitat, the

eventual impacts to habitat and sage-grouse populations attributable to oil and gas

development on leased land are foreseeable: Exploration, drilling, and new

infrastructure such as roads, power lines, compressor stations, tank farms or

pipelines, and other anthropogenic disturbances follow. See 80 Fed. Reg. 59858,

59888-59890 (Oct. 2, 2015). New infrastructure is required to extract and transport

oil and gas, further fragmenting sage-grouse habitat and impairing connectivity

between and among designated habitat areas.

      55.    These kinds of impacts are among those that the 2015 plans were

designed to minimize. See 80 Fed. Reg. 59858, 59867–59868 (Oct. 2, 2015)

(importance of habitat connectivity to population persistence; habitat fragmentation

and loss likely primary influences on population trends instead of stochastic events),



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59888–59890 (additional infrastructure needed to develop and transport

nonrenewable energy), 59891–59892 (infrastructure historically known as a

substantial contributor to habitat fragmentation and can “influence a larger

ecological footprint by negatively affecting sage-grouse use of otherwise suitable

habitats through indirect effects [. . .]”).

       56.    In addition to these lease sales, the Bureau has failed to implement

adequate measures to mitigate harm to sage-grouse habitat on federal land as

required by the 2015 plans. Mitigation was and is a necessary component of

protecting sage-grouse habitat on lands where development does occur. But the

Bureau has implemented policies limiting the mitigation efforts required of

developments in sage-grouse habitats.

       57.    These departures from the priorities and requirements laid out in the

2015 plans constitute an ongoing pattern or practice of behavior in which the Bureau

is reneging on commitments that it made to the State of Montana and other

stakeholders and threatening the long-term health of the sage grouse and other

species that rely on sagebrush-steppe habitat.

       58.    These departures are not business as usual. They constitute a revision

of the 2015 plans without going through the procedures required by law under the

Federal Land Management Plan Act and the National Environmental Policy Act.

The Bureau has not undertaken adequate procedures to revise or amend a land



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management plan, including the Federal Land Management and Policy Act’s

requirement for a Governor’s Consistency Review, nor has it adequately considered

alternatives that would evaluate impacts and conservation options for priority and

general habitat.

      59.    This pattern and practice of failing to provide adequate protection to

sage-grouse habitat has been and continues to be implemented under Pendley, who

unlawfully serves as the Bureau’s Acting Director.

      60.    This Court recently confirmed this pattern or practice of departing

from the 2015 plans in its decision in Montana Wildlife Fed’n v. Bernhardt, No. CV-18-

69-GF-BMM, 2020 WL 2615631 (D. Mont. May 22, 2020). In that case, this Court

held that certain guidance and lease sales by the Bureau violated the 2015 plans and

had to be vacated. Id. at *8–*11. The guidance and lease sales at issue in that case

are just some of the actions and omissions by the Bureau that are contrary to the

commitments it undertook in the 2015 plans.

      61.    The Bureau’s actions and omissions disproportionately burden

Montana. Montana bears a greater conservation burden than other states when it

comes to protecting sage-grouse habitat. Montana therefore bears a disproportionate

burden of the cost necessary to avert habitat loss and population decline; and if the

sage grouse is listed under the Endangered Species Act, Montana will bear a

disproportionate cost of the consequences.



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       62.    The Bureau’s actions have caused and are continuing to cause the State

of Montana to divert its own finite resources—including money, time, and staff—

toward increased study and management of threats to the sage grouse, given that the

federal government appears no longer to be committed to the protections it adopted

in 2015.

       63.    The Bureau’s actions also create a substantial risk that the sage grouse

will become endangered within the meaning of the Endangered Species Act and

listed as endangered by the Fish and Wildlife Service.

       64.    This risk of listing under the Endangered Species Act is imminent. The

Fish and Wildlife Service has committed to reviewing the status of the sage grouse

this year. See 2020 Greater Sage-Grouse Status Review, Fish and Wildlife Service. This

review will evaluate whether “the federal greater sage-grouse plans” were

“implemented as planned.” Id. The Fish and Wildlife Service will examine whether

“the federal plans reduce[d] the extent or magnitude of habitat loss and

fragmentation from energy development, infrastructure, grazing, mining, and other

regulated activities.” Id.

C.     In 2016, Bureau’s Lewistown and Missoula field offices put
       together plans that provided protection for significant fish and
       wildlife habitat, cultural resources, and recreational values
       across the planning areas.

       65.    In 2016, after years of analysis and close work with a diverse group of

local stakeholders, Bureau of Land Management field offices submitted draft


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resource management plan documents for review by the Bureau’s leadership in

Washington. The documents submitted by field offices, including field offices in

Montana, proposed changes to resource management—again, with the expectation

of review by leadership at the Bureau. After Trump’s inauguration, however, the

Bureau delayed review of these plans, acting on them for the first time years later in

May 2019, when the Bureau returned with a draft resource management plan.

84 Fed. Reg. 22517-01 (May 17, 2019). The Bureau’s plan differed significantly from

proposals by its own field offices and local stakeholders.

      66.    After significant consideration and in accordance with prior plans, the

documents sent by field offices to the Bureau’s leadership in 2016 proposed

protective designations for unique natural characteristics and wildlife values,

including areas of critical environmental concern, lands with wilderness

characteristics, and ecological emphasis areas. Federal law requires the Bureau to

consider special management for lands that have special fish and wildlife, and unique

archaeological values. This requirement includes the need to prioritize the

designation and protection of areas of critical environmental concern. Lands with

wilderness characteristics are managed to maintain opportunities for solitude and

quiet recreation. Such lands are host to an estimated 2.9 million visits to Bureau

lands in Montana in 2014 and $164 million in direct spending impacting local

communities.



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      67.    The draft resource management plans returned by the Bureau’s

leadership after three years of delay, by contrast, virtually eliminated these special

management designations in the Bureau’s preferred alternative. The plan submitted

to the Bureau by the Lewistown Field Office had 22,900 acres managed as areas of

critical environmental concern, while the draft plan returned by the Bureau in 2019

had a preferred alternative of 0 acres. 1 Bureau of Land Management, Draft

Lewistown Resource Management Plan (2019) available at https://perma.cc/S9JU-9P7H.

The draft plan returned by the Bureau that covers the Missoula Field Office

proposed eliminating half of the 1,225 acres managed under the areas-of-critical-

environmental-concern designation in its preferred alternative. Both plans returned

by the Bureau ignored the roughly 205,000 acres of lands that met the agency’s own

criteria for Lands with Wilderness Characteristics. See, e.g., Lewistown Proposed Resource

Management Plan and Final Environmental Impact Statement, Bureau of Land Management

(Feb. 2020), https://perma.cc/XUT5-YQ6V; Proposed Resource Management Plan and

Final Environmental Impact Statement for the Missoula Field Office, Bureau of Land

Management (Feb. 2020).

      68.    The Bureau’s decision to exclude significant areas of critical

environmental concern in their “preferred alternative” flouts its legal obligation

under the Federal Land Management Policy Act to identify, manage, and prioritize

areas of critical environmental concern. 43 U.S.C. § 1711(a) (“The Secretary shall



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prepare and maintain on a continuing basis an inventory of all public lands and their

resource and other values . . ., giving priority to areas of critical environmental

concern.”).

      69.     More than 800 people submitted comments on the draft resource

management plans. The vast majority of these comments relayed conservation

concerns and advocated prioritizing wildlife habitat management, protecting lands

with wilderness characteristics and areas of critical environmental concern, and

providing equitable multiple-use classifications.

D.    In February, Pendley published final draft management plans
      for the Lewistown and Missoula field offices that continued to
      ignore public input and field office staff recommendations, and
      broke from past management practices.

      70.     The proposed resource management plan that the Bureau next

published on February 14, 2020, failed to engage with the majority of these public

comments, and instead continued to minimize the importance of lands with

wilderness characteristics and areas of critical environmental concern. 85 Fed. Reg.

8607 (Feb. 14, 2020). William Pendley was quoted in several press releases touting

the resource management plan’s accomplishments.

      71.     Under federal law, the Bureau is required to submit its land use plans

for review by state authorities to reduce inconsistencies and friction between state

and federal land management plans. Governor Bullock conducted the State of

Montana’s review in this instance. The Federal Land Policy and Management Act,


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43 U.S.C. §§ 1701–1787, requires that the Interior Secretary “manage the public

lands under principles of multiple use and sustained yield, in accordance with the

land use plans developed by him under section 1712 of this title when they are

available, except that where a tract of such public land has been dedicated to specific

uses according to any other provisions of law it shall be managed in accordance with

such law.” 43 U.S.C. § 1732(a). Subsection (c)(9) of this section established

coordination and consistency requirements for the Bureau, including requirements

to “assist in resolving, to the extent practical, inconsistencies between Federal and

non-Federal Government plans, and… provide for meaningful public involvement

of State and local government officials, both elected and appointed, in the

development of land use programs, land use regulations, and land use decisions for

public lands.”

      72.    Governor Bullock objected to the plan as proposed by the Bureau, and

raised a number of concerns related to the State of Montana’s land management

priorities and interests. These objections and concerns focused primarily on three

areas: backcountry conservation areas, lands with wilderness characteristics, and

areas of critical environmental concern.

      73.    The Bureau’s response to Governor Bullock failed meaningfully to

engage with his objections, and asserted without explanation that the Bureau’s new

“preferred alternative” was in compliance with applicable laws and regulations and



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rendered the use of the special management designations unnecessary.

      74.      During this time, Acting Director William Perry Pendley oversaw the

comment period as well as the state director’s response to the Governor’s consistency

review.

      75.      The Bureau’s decisions that deprioritize lands with wilderness

characteristics and areas of critical environmental concern are inconsistent with the

agency’s federal law obligations. And they erode longstanding management

protections and fail to take into consideration concerns expressed by primary

stakeholders, particularly the State of Montana.

      76.      This pattern and practice of failing to manage public lands under

principles of multiple use, fulfilling state consultation requirements and adequately

protecting lands with wilderness characteristics and areas of critical environmental

concern has been and continues to be implemented under Pendley, who serves

unlawfully as the Bureau’s Acting Director and who continues to oversee the

resource-management-plan development process while his nomination is pending.

                              CLAIMS FOR RELIEF

                        COUNT ONE:
      VIOLATION OF THE FEDERAL VACANCIES REFORM ACT

      77.      William Perry Pendley’s continued appointment as acting director, his

exercise of the authority of the Director, and his actions taken in that role violate the

Federal Vacancies Reform Act. Pendley was only recently nominated to be the


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Director of the Bureau of Land Management, after serving unlawfully for nearly a

year, and he has not been confirmed by the Senate, as required both by the statutes

governing the Bureau of Land Management and by the United States Constitution.

      78.    Under the FVRA, a person may not serve as an acting officer for an

office if the President has submitted their nomination to the Senate “for appointment

to such office,” with limited exceptions. 5 U.S.C. § 3345(b).

      79.    Neither of those exceptions apply to Pendley. Pendley did not serve as

the first assistant to the office of Director before the current vacancy arose, in early

2017. Nor has he been confirmed by the Senate to his current position as Deputy

Director.

      80.    Pendley has continued to serve as acting director to the Bureau of Land

Management while his nomination for the position of Director is pending.

      81.    “Once the President submitted his nomination to fill that position in a

permanent capacity, subsection (b)(1) [of 5 U.S.C. § 3345] prohibited [Pendley] from

continuing his acting service.” See N.L.R.B., 137 S. Ct. at 944.

      82.    Since June 30, 2020, William Perry Pendley has violated the FVRA by

exercising the authority of the Director of Bureau of Land Management.

                        COUNT TWO:
        VIOLATION OF THE UNITED STATES CONSTITUTION

      83.    William Perry Pendley’s appointment as acting director, his exercise of

the authority of the Director, and his actions taken in that role violate the


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Appointments Clause of the U.S. Constitution. See U.S. Const. Art. II, § 2, cl. 2.

      84.    “Any appointee exercising significant authority pursuant to the laws of

the United States is an ‘Officer of the United States,’ and must, therefore, be

appointed in the manner prescribed by” the Appointments Clause. Freytag v. C.I.R.,

501 U.S. 868, 881 (1991) (internal quotation marks omitted); see also Lucia v. S.E.C.,

138 S. Ct. 2044 (2018).

      85.    The Director of the Bureau of Land Management is an officer of the

United States requiring Senate confirmation to be appointed. 43 U.S.C. § 1731(a).

The Director exercises significant authority pursuant to the laws of the United States,

including supervising the leasing and development of public lands.

      86.    By exercising the authority of an officer of the United States without

Senate confirmation, William Perry Pendley is violating the “critical structural

safeguard” of the Constitution’s Appointments Clause. See NLRB v. SW General, Inc.,

137 S. Ct. at 935 (internal quotation marks omitted).

      87.    These violations of the Appointments Clause are independent of the

violations of the FVRA described above. Even if the FVRA were construed to

authorize William Perry Pendley’s appointment as acting director, that appointment

would nonetheless be unconstitutional as applied here.

                       COUNT THREE:
      VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT

      88.    William Perry Pendley’s appointment as acting director, his exercise of


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the authority of the Director, and his actions taken in that role violate the

Administrative Procedure Act. The APA forbids agency action that is “not in

accordance with law.” 5 U.S.C. § 706(2)(A). It also forbids any action taken “without

observance of procedure required by law,” and any action that is “contrary to

constitutional right, power, privilege, or immunity.” Id. § 706(2)(B), (D).

       89.   Secretary Bernhardt’s order on July 29, 2019, appointing Pendley as

acting director, was an unlawful agency action because it violated both the FVRA

and the U.S. Constitution. The order therefore violated the APA. Secretary

Bernhardt’s subsequent orders reauthorizing Pendley to serve as acting director,

including his service after his nomination was sent to the Senate, violate the APA for

as well.

       90.   The Bureau’s pattern and practice of departing from its 2015 plans with

respect to sage-grouse conservation violate the APA because the Bureau’s actions

were taken under the supervision of an unlawfully appointed officer.

       91.   Because the Bureau’s actions constitute a de facto revision of the 2015

plans, they are also unlawful for failure to observe the procedure required by law to

revise a resource management plan.

       92.   Plaintiffs have no adequate or available administrative remedy; in the

alternative, any effort to obtain an administrative remedy would be futile.

       93.   Plaintiffs have “no other adequate remedy in a court.” 5 U.S.C. § 704.



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                              PRAYER FOR RELIEF

      For these reasons, plaintiffs respectfully request that this Court:

      a.      Declare that William Perry Pendley’s appointment as acting director,

his exercise of the authority of the Director, and his actions taken in that role,

including during the pendency of his nomination to the position of Director, violate

the U.S. Constitution, the Federal Vacancies Reform Act, and the Administrative

Procedure Act;

      b.      Enjoin William Perry Pendley from exercising the authority of the

Director of the Bureau of Land Management while his nomination is pending;

      c.      Enjoin Secretary Bernhardt from directing Pendley to exercise the

authority of the Director of the Bureau of Land Management;

      d.      Award the plaintiffs their costs, attorneys’ fees, and other disbursements

for this action; and

      e.      Grant any other relief this Court deems appropriate.

Dated:        July 20, 2020                    Respectfully submitted,

                                               /s/ Raphael Graybill
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                      CERTIFICATE OF COMPLIANCE

       In accordance with Local Rule 7.1 of the Rules of Procedure of the United
States District Court for the District of Montana, I certify the following concerning
the Complaint:

      1. the document is double spaced except for footnotes and quoted and
         indented material;

      2. the document is proportionally spaced, using Baskerville, 14 point font;
         and

      3. the document contains 6377 words as calculated by Microsoft Word.

      Dated:       July 20, 2020

                                              /s/ Raphael Graybill
                                              Raphael Graybill




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